         Case 3:22-cr-00223-PDW Document 32 Filed 12/07/22 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

UNITED STATES OF AMERICA                         INDICTMENT

                  v.                             Case No. ______________________

ERNESTO FALCON JR. and                           Violation: 8 U.S.C. §§ 1324(a)(1)(A)(v)(I)
RODOLFO ARZOLA-CARRILLO                          and 1324(a)(1)(B)(i); and 18 U.S.C. § 2


                         Conspiracy to Transport Illegal Aliens

The Grand Jury Charges:

       In or about November 2022, in the District of North Dakota, and elsewhere,

                              ERNESTO FALCON JR. and
                            RODOLFO ARZOLA-CARRILLO

knowingly and intentionally combined, conspired, confederated, and agreed together and

with others, both known and unknown to the grand jury, to commit an offense against the

United States, specifically, transporting illegal aliens, contrary to Title 8, United States

Code, Section 1324(a)(1)(A)(ii). To wit: knowing or in reckless disregard of the fact that

one or more aliens had come to and entered the United States in violation of law, one or

more of the conspirators transported, moved, and attempted to transport and move, such

aliens within the United States by means of transportation and otherwise, in which the

offense was done for the purpose of private financial gain;
          Case 3:22-cr-00223-PDW Document 32 Filed 12/07/22 Page 2 of 2




      In violation of Title 8, United States Code, Sections 1324(a)(1)(A)(v)(I) and

1324(a)(1)(B)(i), and Title 18, United States Code, Section 2.

                                         A TRUE BILL:


                                         /s/ Foreperson
                                         Foreperson


/s/ Jennifer Klemetsrud Puhl
JENNIFER KLEMETSRUD PUHL
United States Attorney

JTR/ljc
